Case 1:15-cV-O4964-LAK Document 372 Filed 01/05/18 Page 1 of 1

 

 

 

,_
§ USDC SDNY
_1 DOCUMENT
UNITED sTATEs DISTRICT CoURT j ELECTRONICALLY FILED
soUTHERN DISTRICT oF NEW YoRK z DOC #:

--------------------------------------------- X jimmng i'

YUKOS CAPITAL S.A.R.L., et al., l

 

Plaintiffs,
-against- 15-cv~4964 (LAK)

DANIEL CALEB FELDMAN,
Defendant-Third Party Plaintiff,
-against-
DAVID GODFREY, et al.,
Third-Party Defendants.
_____________________________________________ X

ORDER SETTING TRIAL DATE

LEWIS A. KAPLAN, Diszricz Judge.

Counsel again have informed the Court as to the many commitments that lead
counsel, associate counsel and various clients have With respect to other matters. Taking into
account the Court’s own commitments, it has become clear that no trial date can be set for the
reasonably near future that Would not inconvenience someone. This is especially so When dealing
With counsel Whose services are in demand

Having taken counsel’s points into consideration, trial will commence November 6,

2018. The time limits previously imposed Will be enforced. There Will be no adjournments absent
the most extraordinary circumstances

SO ORDERED.

Dated: January 4, 2018

J/l/L » li/{Q»//pé/L/'\

LeWis A.yKaplan
United States District Judge

 

